       Case 4:07-cv-00886-MWB Document 145 Filed 07/12/10 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

JILL SIKKELEE, individually and as
Personal Representative of the Estate of
David Sikkelee, deceased,                    Civil Action No.: 07-CV-0886JEJ

                                             Hon. John E. Jones III
v.

PRECISION AIRMOTIVE CORPORATION,
et al.


      PLAINTIFF’S PETITION TO APPROVE PARTIAL SETTLEMENT
      BETWEEN PLAINTIFF AND THE KELLY DEFENDANTS ONLY

      COMES NOW the Plaintiff Jill Sikkelee, individually and as personal

representative of the estate of David Sikkelee, deceased, with the approval and

consent of the Kelly defendants, by and through undersigned counsel, and for her

Petition to Approve Partial Settlement Between Plaintiff and the Kelly Defendants

Only, states as follows:

      This aviation wrongful death and survival action arises from a July 2005

crash of a Cessna 172N aircraft following a loss of engine power shortly after
       Case 4:07-cv-00886-MWB Document 145 Filed 07/12/10 Page 2 of 3




takeoff. Doc. #1. Plaintiff’s decedent, David Sikkelee, who was the pilot, died

from burns/injuries sustained in the crash. Id.

      Plaintiff and the Kelly defendants1 ONLY have reached a settlement in this

legal action.2

      The terms of the settlement are as follows: the Kelly defendants (or their

insurer) shall pay Plaintiff two million dollars ($2,000,000.00), and Plaintiff shall

enter a release of all claims against the Kelly defendants ONLY. (NOTE: This

settlement does NOT include or release any claims made against the other

defendants, which are collectively referred to in the complaint as “the Precision

defendants” and “the Textron defendants.” See Doc. 1. All claims against those

other defendants remain pending.)

      Plaintiff and her counsel believe this settlement with the Kelly defendants

ONLY to be fair, equitable, and in the best interests of the survivors and estate of

David Sikkelee, deceased. Should this Court approve the partial settlement,

Plaintiff will seek approval of attorneys fees, costs and distribution of net

settlement proceeds in South Carolina probate court, where the estate is probated.

1
 Collectively listed in the complaint as Kelly Aerospace, Inc.; Kelly Aerospace
Power Systems, Inc., a/k/a Electrosystems, Inc. a/k/a Consolidated Fuel Systems,
Inc. a/k/a Confuel Inc.; Electrosystems, Inc., a/k/a Consolidated Fuel Systems, Inc.
a/k/a Confuel, Inc.; and Consolidated Fuel Systems, Inc. a/k/a Confuel, Inc.
The Kelly defendants were the entities that overhauled and re-built the subject
2


MA-4SPA carburetor in 2004.
        Case 4:07-cv-00886-MWB Document 145 Filed 07/12/10 Page 3 of 3




       The Kelly defendants and their counsel consent to and join in this motion

and believe this settlement to be fair, equitable, and in the Kelly defendants’ best

interests.

       Counsel for the Textron defendants has concurred and has no objection.

       Concurrence was sought from counsel for the Precision defendants. As of

the date of this filing, a position has not yet been provided.

       A Proposed Order is attached as Exhibit 1.

       A Certificate of Concurrence is attached as Exhibit 2.

       WHEREFORE, the Plaintiff, with the approval of the Kelly defendants,

seeks this Honorable Court’s approval of the partial settlement with the Kelly

defendants ONLY.

       Respectfully submitted this 12th day of July, 2010.


                         s/ John D. McClune
                         KATZMAN, LAMPERT & McCLUNE
                         David I. Katzman, pro hac vice
                         John D. McClune, pro hac vice
                         Out-of-state counsel for Plaintiff
                         100 W. Big Beaver Rd., Suite 130
                         Troy, MI 48084
                         (248) 258-4800 Telephone
                         (248) 258-2825 Fax
                         dikatzman@klm-law.com Email
                         jmcclune@klm-law.com Email
